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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

CATHOLIC LEGAL IMMIGRATION             )
NETWORK, INC., et al.,                 )
                                       )
    Plaintiffs,                        )
                                       )
    v.                                 )              Civil Action No. 8:20-cv-02042-TDC
                                       )
UNITED STATES CITIZENSHIP AND          )
IMMIGRATION SERVICES, et al.,          )
                                       )
    Defendants.                        )
______________________________________ )

                                     JOINT STATUS REPORT

   In accordance with the parties’ proposal to submit a joint status report on a monthly basis, as

stated in their Joint Motion to Stay All Proceedings filed on September 28, 2020 (ECF No. 18 at

6), the parties, by and through undersigned counsel, hereby file this Joint Status Report, and state

as follows:

       1.       Catholic Legal Immigration Network, Inc., Alianza Americas, and National TPS

Alliance (Plaintiffs) commenced the instant action against the United States Citizenship and

Immigration Services (USCIS), United States Department of Homeland Security (DHS), and

United States Department of State (State), (collectively, Defendants) to compel compliance with

the Freedom of Information Act (FOIA). Specifically, the Complaint seeks responses to three

separate FOIA requests submitted to USCIS (“Request 1”), State (“Request 2”), and DHS

(“Request 3”) respectively. (Compl. ¶¶ 27-40.)

       2.       On January 6, 2021, USCIS produced its third rolling release of documents

comprised of 125 pages and 395 partially produced pages from the Office of Policy and Strategy

component (OP&S) to Plaintiffs in response to Request 1. USCIS is presently processing the

fourth production of USCIS pages. Subject to FOIA exemptions, the fourth production of
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USCIS pages is expected to be produced on or about February 7, 2021. Per the request of

Plaintiffs, the fourth production will consist of responsive, non-FOIA exempt documents from

OP&S.

        3.       On December 17, 2020, State produced its first rolling release of documents

comprised of 1 record released in full and 32 records released in part. State is continuing to

collect unclassified potentially responsive documents. The second production of responsive,

non-exempt material, to the extent any such material is identified, will be made on or before

January 19, 2021. While searches for records on classified systems continue to be inhibited by

the ongoing impact of COVID-19 mitigation measures on staffing, State will initiate searches of

classified systems promptly upon the relevant employees re-obtaining access to those systems.

        4.       The parties are continuing to engage in discussions regarding the possible

narrowing or prioritization of Plaintiffs’ FOIA requests.

Dated: January 15, 2021                        Respectfully submitted,

                                               ____/s/______________________
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